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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION - CINCINNATI
ANDREW BINKS, : Case No. 1:20-cv-78

Plaintiff, : Judge Matthew W. McFarland
Magistrate Judge Karen L. Litkovitz

vs.
KAREN L. COLLIER, et al.,

Defendants.

 

ENTRY AND ORDER ADOPTING REPORT AND RECOMMENDATIONS (DOC.
31) AND DENYING MOTION FOR SANCTIONS (DOC. 29) AS MOOT

 

The Court has reviewed the Report and Recommendations of United States
Magistrate Judge Karen L. Litkovitz (Doc. 31), to whom this case is referred pursuant to
28 U.S.C. § 636(b), and noting that no objections have been filed thereto and that the time
for filing such objections under Fed. R. Civ. P. 72(b) has expired, hereby ADOPTS said
Report and Recommendations in its entirety. Accordingly, the Court GRANTS
Defendants’ motion to dismiss (Doc. 21) and DENIES AS MOOT Plaintiff's motion for
sanctions (Doc. 29).

IT IS SO ORDERED.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

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JUDGE MATTHEW W. McFARLAND
